                Case 2:13-cr-00330-KJM Document 56 Filed 01/03/14 Page 1 of 1

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 7

 8
                                     IN THE UNITED STATES DISTRICT COURT
 9
                                         EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-330 KJM

12                                     Plaintiff,       ORDER FOR HEARING ON THE
                                                        GOVERNMENT’S MOTION FOR REVOCATION
13                             v.                       OF RELEASE OF AIMEE BURGESS

14   GLEN MEYERS, ET AL.,

15                                    Defendants.

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18           The government’s motion for revocation of release of defendant Aimee Burgess is set for hearing

19 on January 9, 2014, at 2:00 p.m. before United States Magistrate Judge Dale A. Drozd. Defendant

20 Aimee Burgess is ordered to appear at the hearing.

21           IT IS SO ORDERED.

22 Dated: January 3, 2014

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25   Dad.Crim
     13CR0330.Burgess.Revocation.0103.docx
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